                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

   IN RE: Latasha S. Calloway aka Latasha          BK NO. 20-00681 MJC
   Shereece Calloway aka Latasha Calloway
                                Debtor(s)          Chapter 13

   Lakeview Loan Servicing, LLC
                               Movant
                vs.

   Latasha S. Calloway aka Latasha
   Shereece Calloway aka Latasha Calloway
                                Debtor(s)

   Jack N. Zaharopoulos
                                 Trustee




           LAKEVIEW LOAN SERVICING, LLC’S NOTICE OF DEBTOR’S
       REQUEST FOR FORBEARANCE DUE TO THE COVID-19 PANDEMIC


          Now comes Creditor Lakeview Loan Servicing, LLC (“Creditor”), by and through

   undersigned counsel, and hereby submits Notice to the Court of the Debtor’s request for

   mortgage payment forbearance based upon a material financial hardship caused by the

   COVID-19 pandemic.

          The Debtor recently contacted Creditor requesting a forbearance period of 6

   months and has elected to not tender mortgage payments to Creditor that would come due

   on the mortgage starting 12/01/2021 through 05/01/2022. Creditor holds a secured

   interest in real property commonly known as 12 Whispering Hills Court Effort, PA 18330

   as evidenced by claim number 6 on the Court’s claim register. Creditor, at this time, does

   not waive any rights to collect the payments that come due during the forbearance period.

   If the Debtor desires to modify the length of the forbearance period or make

   arrangements to care for the forbearance period arrears, Creditor asks that the Debtor or

   Counsel for the Debtor make those requests through undersigned counsel.

Case 5:20-bk-00681-MJC        Doc 65 Filed 12/20/21 Entered 12/20/21 10:13:55              Desc
                              Main Document     Page 1 of 2
          Per the request, Debtor will resume Mortgage payments beginning 06/01/2022

   and will be required to cure the delinquency created by the forbearance period

   (hereinafter “forbearance arrears”). Creditor has retained undersigned counsel to seek an

   agreement with Debtor regarding the cure of the forbearance arrears and submit that

   agreement to the Court for approval. If Debtor fails to make arrangements to fully cure

   the forbearance arrears, Creditor reserves it rights to seek relief from the automatic stay

   upon expiration of the forbearance period.

                                                        Respectfully Submitted,

                                                        /s/Rebecca A. Solarz, Esquire
                                                        Rebecca A. Solarz, Esquire
                                                        Attorney for Creditor




Case 5:20-bk-00681-MJC        Doc 65 Filed 12/20/21 Entered 12/20/21 10:13:55               Desc
                              Main Document     Page 2 of 2
